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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


  CENTRAL VALLEY AG COOPERATIVE,
  for itself and as Fiduciary of the Central
  Valley Ag Cooperative Health Care Plan;                          8:17CV379
  and CENTRAL VALLEY AG
  COOPERATIVE HEALTH CARE PLAN,
                                                         MEMORANDUM AND ORDER
                       Plaintiffs,

         vs.

  DANIEL K. LEONARD, SUSAN
  LEONARD, THE BENEFIT GROUP, INC.,
  ANASAZI MEDICAL PAYMENT
  SOLUTIONS, INC., CLAIMS DELEGATE
  SERVICES, LLC, LINUS G. HUMPAL,
  and GMS BENEFITS, INC.,

                       Defendants.


         This matter is before the Court on several motions. For the reasons discussed

 below, the Defendants’ Motions for Summary Judgment, ECF Nos. 257, 263, and 270,

 will be granted. The Plaintiffs’ Motion for Partial Summary Judgment, ECF No. 273, will

 be denied. Because this action will be dismissed, the Court will not address the Motions

 in Limine, ECF Nos. 223, 243, 347, 350, 352, 355, and 371, and they will be denied as

 moot.

                                FACTUAL BACKGROUND

         In compliance with the Court’s local rules, the parties submitted numbered

 statements of undisputed facts and corresponding responses. While the Court will not

 list here every statement of fact admitted by the several parties, it has thoroughly reviewed
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 all the facts and evidence submitted.1 Unless otherwise indicated, the following facts are

 undisputed for purposes of the pending Motions for Summary Judgment.

 I. The Parties and the ERISA Plan

         Central Valley Ag Cooperative (“Central Valley”)2 is a Nebraska corporation with

 its principal place of business in York, Nebraska. Central Valley provides farm planning,

 supplies, and services to members of its cooperative in Nebraska, Kansas, and Iowa.

 Central Valley Non-Stock and United Farmers were separate entities that each had their

 own group employee health and welfare plan prior to the entities’ corporate merger in

 2014. After the merger, Central Valley provided its employees the Central Valley Ag

 Cooperative Health Care Plan (“Central Valley Plan” or “Plan”), which was a qualified

 employee welfare plan within the definition of the Employee Retirement Income Security

 Act (ERISA), 29 U.S.C. §§ 1001–1461. In addition to health coverage offered by the

 Central Valley Plan, individual employees could choose to purchase additional insurance

 including a Vision Benefit Plan (“VSP”) as well as insurance against accidents, critical

 illness, and cancer, directly from the Plan’s broker. Those individual policies were not

 part of the Plan.

         Central Valley’s Plan was overseen by an informal Benefits Committee in charge

 of selecting and managing the benefits, including health insurance, offered to employees.



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          The Court is mindful of the difficulty the parties encountered when attempting to maintain a well-
 organized record in this case, given the volume of exhibits and the fact that many exhibits were restricted.
 That said, the disarray of the record, including mislabeled exhibits, references to exhibits attached to
 depositions, illegible exhibits, and documents filed upside down, prolonged the Court’s review of the
 motions.

         2
            Effective September 1, 2014, United Farmers Cooperative (“United Farmers”) merged with
 Central Valley. Following the merger, United Farmers changed its name to Central Valley Ag Cooperative.



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 The Benefits Committee members included Central Valley’s President, Carl Dickinson;

 Senior Vice President for Human Resources, Tim Esser; Senior Vice President of

 Member Services, Peggy Hopwood; and Central Valley’s current Chief Financial Officer,

 Don Swanson. Dickinson, Hopwood, and Swanson were employees of United Farmers

 before the merger. In July or August 2015, Central Valley’s Vice President of Risk

 Management, Rick Smithpeter, was added to the Benefits Committee. Dickinson had

 ultimate decision-making authority over Plan selection for the 2015 and 2016 Plan years.

       Defendant GMS Benefits, Inc. (GMS) is the trade name for Group Marketing

 Services, Inc. GMS provides broker and employee benefit plan consulting services to

 employers. Defendants Susan Leonard and Daniel Leonard are the President and Vice-

 President, respectively, of Group Marketing Services, Inc., and its sole shareholders.

 United Farmer hired GMS as its broker in 2005 and GMS continued in that capacity for

 Central Valley in 2014 following the merger. GMS is not named as a fiduciary of the

 Central Valley Plan in any document describing, establishing, or related to the Plan for

 any Plan year. At no time were GMS, Susan Leonard, or Daniel Leonard fiduciaries with

 respect to the Central Valley Plan.

       In 2013, Defendant The Benefit Group, Inc. (Benefit Group), was the third-party

 administrator for the United Farmers Cooperative Health Care Plan (the “United Farmers

 Plan”). Hopwood Dep. Ex. 77, ECF No. 264-1. In 2015 and 2016, Central Valley engaged

 Benefit Group to provide administrative services for the Plan, governed by an

 administrative services agreement. Esser, on behalf of Central Valley, signed the

 administrative services agreement for the 2015 Plan Year, effective January 1, 2015 (the

 “2015 ASA”), see ECF No. 264-13, and signed another administrative services agreement



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 with Benefit Group for the 2016 Plan Year, effective January 1, 2016 (the “2016 ASA”),

 see ECF No. 264-15. The 2015 and 2016 ASAs stated that Benefit Group was not a

 fiduciary under the Plan by virtue of paying benefits in accordance with the Plan’s rules.

 Under both administrative services agreements, Central Valley retained “all final authority

 and responsibility for the Plan and its operation.” See id. at 1, PageID.7467. The

 administrative services agreements also stated that “Employer [Central Valley] shall have

 final authority in determining the eligibility of claims to be paid by the Plan.” Id. No

 documents governing the Central Valley Plan in either 2015 or 2016 identify Benefit

 Group as a fiduciary of the Central Valley Plan.

        Defendant Anasazi Medical Payment Solutions, Inc. d/b/a Advanced Medical

 Pricing Solutions (AMPS) provides medical bill review (MBR) services to employee

 benefit plans. AMPS provided MBR services to the United Farmers Plan and then to the

 Central Valley Plan in 2015. Defendant Claims Delegate Services, LLC (CDS)3 was a

 wholly owned subsidiary of AMPS providing reference-based reimbursement (“RBR”)

 services to employee benefit plans. CDS was not involved in providing MBR services and

 did not provide any services to Central Valley or the Central Valley Plan before January

 1, 2016. However, CDS provided RBR services to the Central Valley Plan in 2016. AMPS

 also provided MBR services to support CDS’s RBR services during the 2016 Plan Year.

 II. MBR and the 2015 Plan Year

        In each year relevant to this case, Central Valley selected the type of benefits the

 Plan would offer. For the 2015 Plan Year, Central Valley chose the option with the lowest



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         In its briefing, Central Valley’s references to AMPS include CDS. Accordingly, for purposes of
 this Memorandum and Order and unless otherwise indicated, the Court’s references to AMPS also include
 CDS.

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 monthly payment, specifically the option that included AMPS providing MBR services.

 Effective January 1, 2015, Central Valley entered into a Medical Bill Review Addendum

 (the “MBR Agreement”) with Benefit Group. Esser read the MBR Agreement before

 signing it on Central Valley’s behalf and was authorized to enter into the MBR Agreement.

 Before entering into the MBR Agreement, no Central Valley representative ever spoke to

 anyone at AMPS or CDS.

       Under the MBR program, Benefit Group would receive claims from Plan

 participants and would forward the claim to AMPS. AMPS would then submit the claim

 to its proprietary database for review. The AMPS review process would determine

 whether the claim included charges that were inappropriate and/or excessive. Following

 this review, AMPS would issue a “recommended allowable payment” amount to Benefit

 Group, recommending the amounts that should be paid on certain hospital and facility

 claims. See Humpal Dep. Ex. 16 § 2.7, ECF No. 264-9. Benefit Group would then send

 Central Valley the payment recommendation for each claim. For each claim, Central

 Valley could accept AMPS’s recommendations, or reject AMPS’s recommendations and

 pay the Preferred Provider Organization (PPO) contracted rate, if available. Hopwood

 Dep. 74:19-75:1; 75:15-19; 85:2-88:5, ECF No. 262-5; see also MBR Agreement § 2.7,

 ECF No. 262-11 (“All final determinations and decisions as to eligibility, benefit

 availability, correctness or appropriateness of charges billed by a provider, and all

 determinations whether any bill is payable under a benefit plan, are the responsibility of

 Client [Central Valley].”). Each Central Valley representative who approved funding

 requests for the 2015 Plan Year was authorized to do so by Central Valley.




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        The MBR Agreement also set AMPS’s fee for Plan Year 2015. It provided that

 AMPS’s fee for MBR services was “equal to 30% of Savings.”              MBR Agreement,

 Attachment A, ECF No. 262-11, PageID.6099. The MBR Agreement defined “savings”

 as “the difference between the lower of either (a) the original total charges billed by the

 provider or (b) the amount of such charges that would normally be paid by [Central Valley]

 and its member under its existing contract with the provider, less the allowable amount

 recommended by AMPS.” Id. Attachment A of the MBR Agreement further provided that

        If AMPS has received a percentage of Savings payment from Client on a
        claim in accordance with this Attachment A, but such claim later is
        subsequently successfully challenged in the appeals process by the
        provider and a higher adjusted charge is recommended by AMPS and paid
        by Client, then upon receipt by AMPS of verification of such payment and a
        copy of the applicable revised or supplemental Explanation of Payment,
        AMPS shall credit or reimburse TPA for the account of Client for such
        proportionate amount of percentage of Savings fees previously paid or
        currently due to AMPS.

 Id. Essentially, if Central Valley accepted the AMPS recommendation, and savings were

 achieved, Central Valley retained 70% of the savings and AMPS retained 30% of the

 savings. Humpal Dep. Ex. 16, Attachment A, Benefit Group 2383, ECF No. 264-9. The

 30% AMPS fee was paid by Central Valley through a funding request submitted by Benefit

 Group. Benefit Group would then forward the 30% fee to AMPS. AMPS would then pay

 back to Benefit Group a percentage of the savings.

        Healthcare providers became concerned about their payments from the Plan under

 the MBR program. In July 2015, Central Valley’s PPO network, First Health, threatened

 to terminate Central Valley’s access to the network because of AMPS’s MBR program

 and the repricing of already discounted hospital claims below PPO contracted rates. In

 November 2015, First Health terminated Central Valley’s access to the network. Because



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 First Health terminated Central Valley’s access to the network, Central Valley sought out

 a different type of plan for the 2016 Plan Year.

 III. RBR and the 2016 Plan Year

        In the fall of 2015, GMS proposed several types of plans to Central Valley for health

 insurance for the 2016 Plan Year. The proposals included an option to use reference-

 based reimbursement (RBR) for hospital and facility claims. Under an RBR program, the

 plan sets payment levels at a certain percentage of Medicare as a reference. Central

 Valley asserts that it wanted payment levels set at 185% of Medicare for “metropolitan”

 providers and 200% of Medicare for rural providers. Central Valley asserts that Linus

 Humpal, President of Benefit Group, opined that hospitals would be happy to accept

 185% of Medicare.

        Central Valley also wanted to avoid a practice known as balance billing. Balance

 billing occurs when a health insurance plan receives a claim from a hospital and pays

 benefits that are less than the full amount of the hospital charges. The hospital may then

 send the patient a bill for the balance that the health insurance plan did not pay. While

 presenting options for the 2016 Plan Year, John Powers of AMPS told The Benefit Group

 that there would be less balance billing with RBR than MBR. The Benefit Group doubted

 this assertion because there would be a larger number of claims eligible for review under

 RBR than MBR. Robin Wall of AMPS confirmed there would be more balance billing

 under RBR. Inman Dep. 31:13-7, ECF No. 266-18. Central Valley was aware that balance

 billing was a possibility under RBR. Dickinson Dep. 177:12-19, Filing No. 266-6; Hopwood

 Dep. 78:20-79:8, 149:1-3; ECF No. 266-3; see also ECF No. 264-30.




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       Central Valley chose the RBR option for the 2016 Plan Year and, in connection

 with its choice of the RBR plan design option, Central Valley adopted a new plan

 document (the “RBR Plan Document” or the “2016 Plan Document”). Under the 2016

 Plan Document, Central Valley served as Plan Sponsor and Plan Administrator, and was

 the Plan’s named fiduciary.    As the Plan’s named fiduciary, Central Valley had the

 obligation to ensure that the RBR Plan Document complied with applicable law. Esser

 read and signed the RBR Plan Document and was authorized to sign the RBR Plan

 Document.

       The RBR Plan Document appointed CDS as a fiduciary for the purpose of serving

 as a “Claims Delegate” to, among other things, “review and make benefit determinations

 on all post-service Hospital and Facility Claims.” RBR Plan Doc. at 3, ECF No. 264-25,

 PageID.7620. AMPS and CDS would review all hospital and facility charges and would

 then determine a fair and reasonable amount for the services. Humpal Dep. Ex. 8, Benefit

 Group2194-95, ECF No. 264-6. Central Valley, as the Plan Administrator, was appointed

 as “[t]he named fiduciary for all other purposes.” Id. Central Valley had a fiduciary

 obligation to oversee the fiduciary duties delegated to CDS.

       The RBR Plan Document set the Permitted Payment Level (“PPL”) for hospital and

 facility claims at 160% of the Medicare allowable amount or, if greater, 135% of the Cost

 of the Covered Services, with a cap of 180% of the Medicare allowable amount. The RBR

 Plan Document further provided that if CDS believed it would serve the best interests of

 the Plan and Plan participants, in its sole discretion, CDS could “increase reimbursement

 for Allowable Expenses . . . by up to 30% of the amount of the Permitted Payment Levels

 set forth above.” Id. at 72, PageID.7689 (e.g., up to 208% of Medicare.)



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       Under the RBR Plan Document,

       the Plan Administrator [Central Valley] and CDS shall jointly have the
       discretion to make a Benefit Determination to pay charges in any amount
       on Hospital or Facility Claims, but only when, in light of the specific facts
       and circumstances relating to the incident of care in question, such
       increased payment is otherwise Reasonable and: (i) it has been clearly and
       definitively established that the payment of a lesser amount could not in
       good faith be considered to represent fair and equitable consideration for
       the Services included in the Claim, or (ii) it is rationally determined to be
       necessary, appropriate and in the best interests of the Plan and its
       Participants to make such increased payment under the circumstances,
       taking into consideration the availability of alternative sources of the
       Services in question in the relevant geographic locale or area, and the value
       of maintaining Provider relationships for purposes of future access to such
       Services in that locale or area; or (iii) in circumstances where applicable law
       or regulation otherwise clearly requires the Plan to pay such charges in such
       amounts.

 Id. at 72-73, PageID.7689-90. On January 19, 2016, the same day that Central Valley

 adopted the 2016 Plan Document, Esser read and signed the RBR Program Services

 Agreement (the “RBR Agreement”) on behalf of Central Valley and the Plan, and was

 authorized to enter into the RBR Agreement.

       Once the 2016 Plan Year was underway, Benefit Group sent hospital and facility

 claims to CDS through an electronic clearinghouse. CDS then used AMPS’s proprietary

 database to re-price hospital and facility claims in accordance with the PPLs set forth in

 the RBR Plan Document. Once CDS reviewed the claim, it would recommend a payment

 amount to Benefit Group. Benefit Group then sent weekly funding requests to Central

 Valley with copies to GMS identifying each claim that Benefit Group proposed to pay in a

 given week. The funding requests listed amounts to be paid with Plan assets on a claim-

 by-claim basis for claims submitted to the Plan. Central Valley sent emails approving

 claims for payment. Each Central Valley representative who approved Benefit Group

 funding requests for the 2016 Plan Year was authorized to do so by Central Valley.


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       Central Valley alleges that beginning in or about May 2016, providers began to tell

Plan participants that they would be billed directly for their services.      As the year

progressed, some Central Valley Plan participants began receiving balance bills from

providers. Participants received balance bills at a rate much higher than any party

anticipated. Additionally, on or about May 19, 2016, several hospitals who were part of

the First Health PPO network filed a lawsuit against the “Central Valley Ag Flexible Benefit

Plan” and several other plans alleging that the plans were obligated to pay the full PPO

rates on certain MBR claims reviewed by AMPS.

       To attempt to address payment issues, CDS negotiated direct payment contracts

with several providers. On July 20, 2016, CDS executed a direct contract with York

General Hospital on behalf of the Central Valley Plan, which specified that all claims aside

from inpatient surgical claims would be paid at 185% of the Critical Access Hospital

Medicare rate. On September 30, 2016, CDS executed a direct contract with Memorial

Heath Care Systems in Seward on behalf of the Central Valley Plan, which specified that

claims would be paid at the lesser of 100% of billed charges or 180% of the Critical Access

Hospital Medicare rate. At the end of 2016, at Central Valley’s direction, AMPS re-priced

and Benefit Group reprocessed and paid certain claims at 204% of the Medicare rate.

       Central Valley decided not to renew the RBR Agreement beyond the 2016 Plan

year. Beginning in the summer or fall of 2016, Smithpeter was tasked with negotiating

claims on Central Valley’s behalf and began a series of direct negotiations with several

hospitals. Thereafter, Central Valley entered into agreements with several hospitals in

which Central Valley agreed to pay a percentage of the charges billed by the hospitals.

IV. Stop Loss



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        Central Valley engaged GMS to procure excess liability (stop-loss) coverage for

claims submitted to the Plan for Plan Year 2016. GMS offered Central Valley a choice of

stop-loss policies that had different terms. The Benefit Group acted as a wholesaler for

insurance brokers with respect to stop-loss coverage by obtaining quotes from carriers

and providing them to brokers/agents. Benefit Group solicited bids from stop-loss carriers

for Plan Year 2016 and provided those bids to GMS for presentation to Central Valley.

The proposals for stop-loss insurance solicited by Benefit Group and presented to Central

Valley by GMS were from Companion Life (Montgomery Management) and U.S. Fire.

        GMS recommended that Central Valley switch from its Companion stop-loss

contract to a U.S. Fire stop-loss contract because there was a 28.74% rate increase if

Central Valley renewed the Companion policy—a $1.7 million difference. Neither AMPS

nor CDS had any involvement in soliciting, selecting, or recommending stop-loss

insurance to the Central Valley Plan. Six months after The Benefit Group provided the

stop-loss quote to GMS, on March 31, 2016, Central Valley signed an Application for

Excess Insurance with U.S. Fire. Central Valley made the final decision about which stop-

loss carrier to select, and it signed and approved all stop-loss contracts relating to the

Plan.

                               STANDARD OF REVIEW

        “Summary judgment is appropriate when the evidence, viewed in the light most

favorable to the nonmoving party, presents no genuine issue of material fact and the

moving party is entitled to judgment as a matter of law.” Garrison v. ConAgra Foods

Packaged Foods, LLC, 833 F.3d 881, 884 (8th Cir. 2016) (citing Fed. R. Civ. P. 56(c)).

“Summary judgment is not disfavored and is designed for every action.” Briscoe v. Cty.



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of St. Louis, 690 F.3d 1004, 1011 n.2 (8th Cir. 2012) (quoting Torgerson v. City of

Rochester, 643 F.3d 1031, 1043 (8th Cir. 2011) (en banc)). In reviewing a motion for

summary judgment, the Court will view “the record in the light most favorable to the

nonmoving party . . . drawing all reasonable inferences in that party’s favor.” Whitney v.

Guys, Inc., 826 F.3d 1074, 1076 (8th Cir. 2016) (citing Hitt v. Harsco Corp., 356 F.3d 920,

923–24 (8th Cir. 2004)). Where the nonmoving party will bear the burden of proof at trial

on a dispositive issue, “Rule 56(e) permits a proper summary judgment motion to be

opposed by any of the kinds of evidentiary materials listed in Rule 56(c), except the mere

pleadings themselves.” Se. Mo. Hosp. v. C.R. Bard, Inc., 642 F.3d 608, 618 (8th Cir.

2011) (quoting Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986)). The moving party

need not produce evidence showing “the absence of a genuine issue of material fact.”

Johnson v. Wheeling Mach. Prods., 779 F.3d 514, 517 (8th Cir. 2015) (quoting Celotex,

477 U.S. at 325). Instead, “the burden on the moving party may be discharged by

‘showing’ . . . that there is an absence of evidence to support the nonmoving party’s case.”

St. Jude Med., Inc. v. Lifecare Int’l, Inc., 250 F.3d 587, 596 (8th Cir. 2001) (quoting

Celotex, 477 U.S. at 325).

       In response to the moving party’s showing, the nonmoving party’s burden is to

produce “specific facts sufficient to raise a genuine issue for trial.” Haggenmiller v. ABM

Parking Servs., Inc., 837 F.3d 879, 884 (8th Cir. 2016) (quoting Gibson v. Am. Greetings

Corp., 670 F.3d 844, 853 (8th Cir. 2012)). The nonmoving party “must do more than

simply show that there is some metaphysical doubt as to the material facts, and must

come forward with specific facts showing that there is a genuine issue for trial.” Wagner

v. Gallup, Inc., 788 F.3d 877, 882 (8th Cir. 2015) (quoting Torgerson, 643 F.3d at 1042).



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“[T]here must be more than the mere existence of some alleged factual dispute” between

the parties in order to overcome summary judgment. Dick v. Dickinson State Univ., 826

F.3d 1054, 1061 (8th Cir. 2016) (quoting Vacca v. Viacom Broad. of Mo., Inc., 875 F.2d

1337, 1339 (8th Cir. 1989)).

       In other words, in deciding “a motion for summary judgment, facts must be viewed

in the light most favorable to the nonmoving party only if there is a genuine dispute as to

those facts.” Wagner, 788 F.3d at 882 (quoting Torgerson, 643 F.3d at 1042). Otherwise,

where the Court finds that “the record taken as a whole could not lead a rational trier of

fact to find for the non-moving party,” there is no “genuine issue of material fact” for trial

and summary judgment is appropriate. Whitney, 826 F.3d at 1076 (quoting Grage v. N.

States Power Co.-Minn., 813 F.3d 1051, 1052 (8th Cir. 2015)).

                                           DISCUSSION

       Central Valley asserts eight causes of action against each of the Defendants. The

causes of action fall under two theories of recovery under ERISA. First, Central Valley

alleges that Defendants breached their fiduciary duty to the Plan under 29 U.S.C. §§

1109(a) and 29 U.S.C. § 1132(a)(2).           Second, Central Valley alleges that Defendants

breached their fiduciary duty under 29 U.S.C. § 1106(b) by engaging in prohibited

transactions under ERISA.4 Central Valley’s claims under its first theory fail because,

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         To support its theories, Central Valley argues that Defendants devised a five-step scheme to
defraud Central Valley and keep charging fees:
       Step 1: Market AMPS’s MBR services to Central Valley knowing the MBR services did not
       work with the local PPO networks;
       Step 2: Create a false plan document to present to a PPO network indicating the network’s
       claims would only be audited for billing errors;
       Step 3: Create another plan document to be presented to Central Valley which indicated
       that PPO network claims would be audited both for errors and for excessive charges, but
       with Central Valley as the Plan Administrator having final authority to determine whether
       PPO network claims were excessive;

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with the limited exception of CDS in 2016, the Defendants were not Plan fiduciaries nor

did they become de facto fiduciaries. Central Valley’s claims under its second theory fail

because the transactions at issue were not prohibited by the Plan.

I. Breach of Fiduciary Duty

       Section 1132(a)(2) states that “[a] civil action may be brought . . . by the Secretary,

or by a participant, beneficiary or fiduciary for appropriate relief under section 1109 of this

title.” Under § 1109(a), a fiduciary who breaches its duties under ERISA “shall be

personally liable to make good to such plan any losses to the plan resulting from each

such breach, and to restore to such plan any profits of such fiduciary which have been

made through use of assets of the plan by the fiduciary.” To establish a breach of fiduciary

duty, a plaintiff must show that “(1) a plan fiduciary (2) breach[ed] an ERISA-imposed duty

(3) causing a loss to the plan.” Leckey v. Stefano, 501 F.3d 212, 225-26 (3d Cir. 2007),

as amended (Dec. 21, 2007) (citing Roth v. Sawyer-Cleator Lumber Co., 61 F.3d 599,

602 (8th Cir. 1995)). Central Valley has failed to prove these elements as a matter of law

because Defendants were not plan fiduciaries nor did they become “de facto” fiduciaries.

Further, there is no evidence of breach of an ERISA-imposed duty.

       A. Defendants as Named Fiduciaries

       A fiduciary’s duties under ERISA “have been described as ‘the highest known to

the law.’” Braden v. Wal-Mart Stores, Inc., 588 F.3d 585, 598 (8th Cir. 2009) (quoting

Donovan v. Bierwirth, 680 F.2d 263, 272 n.8 (2d Cir.1982)). “In every case charging


       Step 4: Hide fees in agreements and disclosure documents;
       Step 5: Increase fees and undisclosed kickbacks by reducing claims below the agreed
       amounts without seeking the requisite approval from Central Valley as the Plan
       Administrator.
Central Valley Br. at 13-14, ECF No. 277, Page.ID 14407-09 (paraphrased).

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breach of ERISA fiduciary duty, then, the threshold question is not whether the actions of

some person employed to provide services under a plan adversely affected a plan

beneficiary’s interest, but whether that person was acting as a fiduciary (that is, was

performing a fiduciary function) when taking the action subject to complaint.” Pegram v.

Herdrich, 530 U.S. 211, 226 (2000). “ERISA does not regulate nonfiduciaries or provide

a remedy for a nonfiduciary’s misconduct.” Sparks v. Mo-Kan Iron Workers Pension Fund,

765 F. Supp. 566, 568 (W.D. Mo. 1990). The Supreme Court has specifically stated that

“damages may not be recovered against ERISA non-fiduciaries.” FirsTier Bank, N.A. v.

Zeller, 16 F.3d 907, 914 (8th Cir. 1994).5 “[W]here the facts are not in question, whether

a party is an ERISA fiduciary is ‘purely a question of law.’” Finkel v. Romanowicz, 577

F.3d 79, 84 (2d Cir. 2009) (quoting Kayes v. Pac. Lumber Co., 51 F.3d 1449, 1458 (9th

Cir. 1995)).

        With respect to an ERISA plan, a person is a fiduciary

        to the extent (i) he exercises any discretionary authority or discretionary
        control respecting management of such plan or exercises any authority or
        control respecting management or disposition of its assets, (ii) he renders
        investment advice for a fee or other compensation, direct or indirect, with
        respect to any moneys or other property of such plan, or has any authority
        or responsibility to do so, or (iii) he has any discretionary authority or
        discretionary responsibility in the administration of such plan.




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           See also Fink v. Union Cent. Life Ins. Co., 94 F.3d 489, 493 (8th Cir. 1996) (“As a nonfiduciary,
Pankow is not liable for damages under ERISA, and the Finks’ complaint requests only a damages award.”);
see also Reich v. Cont’l Cas. Co., 33 F.3d 754, 757 (7th Cir. 1994) (“A majority of the Supreme Court has
made clear its view that Congress’s omission to impose on nonfiduciaries a duty not to participate knowingly
in an ERISA fiduciary’s breach of fiduciary obligations was not inadvertent; that Congress knew that at
common law (including in that term the judge-made law of equity) nonfiduciaries were subject to “knowing
participation” liability in trust cases, and knowing this decided not to cast the net of ERISA liability that
wide.”); Reich v. Rowe, 20 F.3d 25, 28 (1st Cir. 1994) (“On June 1, 1993, the Supreme Court held in a
five to four decision that ERISA does not permit a civil suit for money damages against nonfiduciaries who
knowingly participate in a fiduciary breach.”); Grp. Hospitalization & Med. Servs. v. Merck-Medco Managed
Care, LLP, 295 F. Supp. 2d 457, 462 (D.N.J. 2003) (“A plaintiff cannot assert an ERISA fiduciary duty claim
unless it asserts the claim against an ERISA fiduciary.”).

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29 U.S.C. § 1002(21)(A).6 The “term fiduciary is to be broadly construed.” Olson v. E.F.

Hutton & Co., 957 F.2d 622, 625 (8th Cir. 1992). However, “[a] person is a fiduciary only

with respect to those portions of a plan over which he [or she] exercises discretionary

authority or control.” Johnston v. Paul Revere Life Ins. Co., 241 F.3d 623, 632 (8th Cir.

2001) (quoting American Fed’n of Unions Local 102 v. Equitable Life Assurance Soc.,

841 F.2d 658, 662 (5th Cir. 1988)). “We look to the substance of the transaction in

deciding whether a person is a fiduciary or whether the relationship is more contractual

than fiduciary.” Hunter v. Philpott, 373 F.3d 873, 876 (8th Cir. 2004). “Persons who

provide professional services to plan administrators ‘are not ERISA fiduciaries unless they

‘transcend the normal role’ and exercise discretionary authority.’” Paul Revere, 241 F.3d

at 632 (internal citations omitted).7

        Federal regulations provide guidance about professional services that do not rise

to the level of fiduciary actions:

        D-2 Q: Are persons who have no power to make any decisions as to plan
        policy, interpretations, practices or procedures, but who perform the
        following administrative functions for an employee benefit plan, within a
        framework of policies, interpretations, rules, practices and procedures
        made by other persons, fiduciaries with respect to the plan:

        (1)     Application of rules determining eligibility for participation or benefits;

        (2)     Calculation of services and compensation credits for benefits;

        (3)     Preparation of employee communications material;



        6
         There is no allegation that any Defendant rendered investment advice to the Plan making
subsection (ii) inapplicable to this case.
          7
            See also Board of Trustees of Western Lake Superior Piping Industry Pension Fund v. American
Benefit Plan Adm’rs, Inc., 925 F.Supp. 1424, 1429-30 (D.Minn. 1996) (granting summary judgment in favor
to third party administrator because the plan administrator was not ERISA fiduciary where it operated under
the strict supervisory requirements of employer and plan documents, and where no facts established its
discretion over the acts alleged.).

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       (4)    Maintenance of participants’ service and employment records;

       (5)    Preparation of reports required by government agencies;

       (6)    Calculation of benefits;

       (7)    Orientation of new participants and advising participants of their
       rights and options under the plan;

       (8)    Collection of contributions and application of contributions as
       provided in the plan;

       (9)    Preparation of reports concerning participants’ benefits;

       (10)   Processing of claims; and

       (11) Making recommendations to others for decisions with respect to plan
       administration?

       A: No. Only persons who perform one or more of the functions described in
       section 3(21)(A) of the Act with respect to an employee benefit plan are
       fiduciaries. Therefore, a person who performs purely ministerial functions
       such as the types described above for an employee benefit plan within a
       framework of policies, interpretations, rules, practices and procedures
       made by other persons is not a fiduciary because such person does not
       have discretionary authority or discretionary control respecting
       management of the plan, does not exercise any authority or control
       respecting management or disposition of the assets of the plan, and does
       not render investment advice with respect to any money or other property
       of the plan and has no authority or responsibility to do so.

29 CFR 2509.75-8 at D-2. The regulations and interpretive case law demonstrate that

“discretion” is the “benchmark of fiduciary status under ERISA pursuant to the explicit

wording of ERISA § 3(21)(A), 29 U.S.C. § 1002(21).” Johnston, 241 F.3d at 632 (citing

Maniace v. Commerce Bank of Kansas City, 40 F.3d 264, 267 (8th Cir. 1994)). Except

for CDS, Central Valley has not shown that the Defendants acted as fiduciaries.

              1. Benefit Group

       Central Valley acknowledges that Benefit Group was not a named fiduciary in

either the 2015 or 2016 Plan Years. A third-party administrator becomes a fiduciary only

if it assumes discretionary authority over a plan, even if the administration contract states

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that the third-party administrator has no discretionary authority. Harold Ives Trucking Co.

v. Spradley & Coker, Inc., 178 F.3d 523, 526 (8th Cir. 1999). The Court must determine

whether Benefit Group exercised discretionary authority over Plan assets.

       A person is a fiduciary “to the extent . . . he exercises any authority or control

respecting management or disposition of its assets.” 29 U.S.C. § 1002(21)(A). Courts

have stated that “the right to write checks on plan funds is ‘authority or control respecting

management or disposition of its assets.’” IT Corp. v. Gen. Am. Life Ins. Co., 107 F.3d

1415, 1421 (9th Cir. 1997). Thus, the “words of the ERISA statute, and its purpose of

assuring that people who have practical control over an ERISA plan’s money have

fiduciary responsibility to the plan’s beneficiaries, require that a person with authority to

direct payment of a plan’s money be deemed a fiduciary.” Id. However, “[c]ustody of plan

assets alone cannot establish control sufficient to confer fiduciary status.” McLemore v.

Regions Bank, 682 F.3d 414, 423 (6th Cir. 2012); see also Briscoe v. Fine, 444 F.3d 478,

494 (6th Cir.2006) (“Our reading of ERISA’s statutory definition will not extend fiduciary

status to every person who exercises mere possession, or custody over the plans’

assets.”). The court in IT Corp. specifically explained: “If a fiduciary tells a bookkeeping

service to send a check for $950 to Mercy Hospital, the bookkeeping service does not

thereby become a fiduciary.” IT Corp., 107 F.3d at 1419.

       Central Valley argues that Benefit Group was a fiduciary because it had authority

to write checks on behalf of the Plan. However, Central Valley’s own understanding of

Benefit Group’s role demonstrates that Benefit Group lacked discretionary authority.

Instead, Benefit Group was like a bookkeeper or claims processor. By Central Valley’s

own description, “[Benefit Group] sent [Central Valley] as Plan Administrator ‘weekly



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funding requests’ or invoices for the amounts due these providers, and [Central Valley]

sent the [Central Valley] Plan money to Benefit Group, which then paid those bills on

behalf of the [Central Valley] Plan.” Central Valley Br. at 12, ECF No. 323 (citing ECF

No. 277-1, ¶ 20, 55, 56). The authority to pay bills on behalf of the Plan was contingent

upon Central Valley’s approval of the funding requests. Benefit Group did not have

authority to direct payment of Plan money except as expressly approved by Central Valley

and, according to Central Valley’s own representative, Benefit Group never made a

payment or used Plan funds without Central Valley authorization. See Dickinson Dep.

80:20-25, 275:7-15, ECF No. 266-6. The evidence demonstrates that Benefit Group

performed purely administrative functions, and only at the direction of Central Valley. See

29 C.F.R. § 2509.75-8 D-2. Accordingly, Benefit Group was not a fiduciary.

       Central Valley specifically argues that Benefit Group became a fiduciary because

of (1) the way Benefit Group designed the Plan, (2) the way Benefit Group administered

costs-savings mechanisms for claims processing, and (3) Benefit Group’s decision to

retain AMPS and CDS. However, none of these circumstances made Benefit Group a

fiduciary of the Plan. First, Plan design does not trigger a fiduciary duty. The Supreme

Court has stated that “ERISA’s fiduciary duty requirement simply is not implicated where

[a plan’s settlor] makes a decision regarding the form or structure of the Plan such as who

is entitled to receive Plan benefits and in what amounts, or how such benefits are

calculated.” Hughes Aircraft Co. v. Jacobson, 525 U.S. 432, 444 (1999); see also Trenton

v. Scott Paper Co., 832 F.2d 806, 809 (3d Cir. 1987) (design of plan was “purely a

corporate management decision,” not a fiduciary decision). Central Valley, as the Plan

administrator and fiduciary, had discretion to accept or reject the proposed plan design.



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Central Valley approved and signed the 2015 and 2016 Plans and there is no evidence

that Benefit Group somehow forced or manipulated Central Valley to adopt the Plans.

Accordingly, plan design does not implicate any fiduciary duties.

       Central Valley’s second argument fails because Benefit Group processed claims

in compliance with the terms of the Plan and the MBR and RBR Agreements. Benefit

Group routinely notified Central Valley when a claim was processed under the MBR

Addendum. See, e.g., ECF No. 266-17; Inman Dep. 211:17-212:22, ECF No. 266-18.

Central Valley reviewed amounts of the AMPS/CDS payment recommendations and had

the discretionary authority to overrule the recommendation. Central Valley provided no

evidence that Benefit Group acted outside the terms of the Plan or the MBR or RBR

agreement. Accordingly, Benefit Group did not breach a fiduciary duty by following

Central Valley’s instructions in paying claims under the terms of the Plan.

       Finally, Central Valley argues that Benefit Group breached a fiduciary duty by

recommending that the Plan retain AMPS and CDS to provide services to the Plan.

Central Valley provides no legal support for this argument. The Medical Bill Review

Services Addendum Central Valley signed expressly stated that it was Central Valley’s

desire to retain AMPS, through Benefit Group, to perform medical bill review services.

See MBR Addendum at 1, ECF No. 262-11. There is no legal basis to hold Benefit Group

liable for Central Valley’s decision to enter into contracts with AMPS. Accordingly, Benefit

Group is entitled to summary judgment on Central Valley’s claims related to the retention

of AMPS/CDS by Central Valley.

              2. AMPS




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        AMPS was not an ERISA fiduciary for the 2015 Plan Year because it was not the

ultimate decision maker on claims. ERISA fiduciary status does not attach “simply by

performing administrative functions and claims processing within a framework of rules

established by the plan especially when the ultimate decision belonged to the plan.”

Chicago Dist. Council of Carpenters Welfare Fund v. Caremark, Inc., 474 F.3d 463, 477

(7th Cir. 2007). In other words, an administrator is not a fiduciary if an ERISA plan retains

authority to accept or reject a recommendation, and the defendant is not the “final

authority” or “final arbiter” of the decision. See In re Express Scripts, Inc., PBM Litig., No.

4:05-MD-01672 SNL, 2008 WL 2952787, at *12 (E.D. Mo. July 30, 2008).

        For the 2015 Plan Year, Central Valley was a participant in the First Health PPO

network and it utilized AMPS only for MBR services. See AMPS Requests for Admissions

(“RFA”) Nos. 35, 44, ECF No. 259-2. No plan document for the 2015 Plan Year named

AMPS as a fiduciary. See AMPS RFA Nos. 5-6. In the 2015 Plan Year, AMPS reviewed

claims it received from Benefit Group and made recommendations on those claims, which

Central Valley either approved or rejected in its capacity as Plan Administrator. Central

Valley retained final authority over claims decisions, including the appropriateness of

charges on eligible claims. See MBR Addendum § 2.7, ECF No. 262-11, PageID.6097.8

Moreover, Central Valley at times rejected recommendations made by AMPS on claims.




        8
          “AMPS shall have no responsibility to accept or reject any claim or bill for payment . . . . All final
determinations and decisions as to eligibility, benefit availability, correctness or appropriateness of charges
billed by a provider, and all determinations whether any bill is payable under a benefit plan, are the
responsibility of Client.” Id.

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See, e.g., Hopwood Dep. 75:15-19; 85:2-88:5, ECF No. 262-5. Because Central Valley

was the ultimate decisionmaker, AMPS was not a fiduciary in Plan Year 2015.9

               3. GMS & Leonards

       In briefing, Central Valley acknowledged that GMS and the Leonards were not

fiduciaries. Accordingly, they cannot be directly liable for breach of fiduciary duty. Central

Valley’s argument with respect to GMS is that they “misplaced [their] loyalty” and

knowingly participated in fiduciary breaches by Benefit Group. Accordingly, Central

Valley’s arguments against GMS and the Leonards are contingent on the arguments

against Benefit Group.

       B. Whether Defendants Became “De Facto” Fiduciaries

       Central Valley argues that even if the Defendants were not named fiduciaries in

Plan documents, they became fiduciaries by acting contrary to the Plan and collecting

undisclosed fees. A non-fiduciary, performing purely ministerial functions cannot be held

liable for breach of fiduciary duty. Harold Ives Trucking, 178 F.3d at 526. However, if a

non-fiduciary “assumes discretionary authority . . . it must be held to have acted as a

fiduciary.” Id. Central Valley argues that Benefit Group and AMPS became de facto

fiduciaries for the 2015 and 2016 Plan Years by acting contrary to each year’s plan

document.

               1. Alleged False 2015 Plan Documents

       For 2015, Central Valley argues that Benefit Group and AMPS became de facto

fiduciaries and breached their duties by creating and submitting false plan documents to




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           CDS was a limited, named fiduciary under the RBR program in the 2016 Plan Year. Central
Valley’s claims for breach are addressed below.

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First Health in order to advance their scheme. Central Valley alleges that, in the false

document, Benefit Group represented that the PPO network claims would only be audited

for duplicate or inaccurate bundling of charges, not for whether they were usual and

customary or reasonable. Central Valley alleges that Benefit Group then created another

plan document to submit to Central Valley. In the document submitted to Central Valley,

claims could be audited for errors and excessive charges, with no distinction between in-

network and out-of-network claims.

      The evidence does not show that Benefit Group presented a false plan document

to gain access to the First Health network. Central Valley wanted access the First Health

PPO Network through Premier Healthcare Exchange, Inc. (“PHX”) effective January 1,

2015. On November 28, 2014, Benefit Group sent PHX a copy of the draft 2015 Central

Valley Plan document for approval. See ECF No. 313-8, Ex. 81. The draft 2015 Plan

document was submitted to PHX on November 28, 2014, and the Plan document,

eventually signed by Central Valley, contained identical claims-auditing language which

allowed claims-auditing for excessive charges. Both documents stated:

      In addition to the Plan’s medical record review process, the Plan
      Administrator may use its discretionary authority to utilize an independent
      bill review and/or claim audit program or service for a complete claim. While
      every claim may not be subject to a bill review or audit, the Plan
      Administrator has the sole discretionary authority for selection of claims
      subject to review or audit.

      The analysis will be employed to identify charges billed in error and/or
      charges that are not Usual and Customary and/or Medically Necessary
      and/or Reasonable, if any, and may include a patient medical billing records
      review and/or audit of the patient’s medical charts and records.

      Upon completion of an analysis, a report will be submitted to the Plan
      Administrator or its agent to identify the charges deemed in excess of the
      Usual and Customary and/or Reasonable amounts or other applicable
      provisions, as outlined in this Plan Document.


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       Despite the existence of any agreement to the contrary, the Plan
       Administrator has the discretionary authority to reduce any charge to a
       Usual and Customary and/or Reasonable charge, in accord with the terms
       of this Plan Document.

See ECF No. 300-10 at 142; ECF No. 313-8 at 10. The language submitted to First

Health and adopted by Central Valley authorized the auditing of claims for both errors

and excessive charges. Accordingly, there is no evidence that Benefit Group submitted

false plan documents.

       Because the 2015 Plan document Central Valley signed allowed for auditing of

claims for excessive charges, Benefit Group was not acting contrary to the Plan document

by submitting claims to AMPS for review for excessive charges. Central Valley’s CEO

acknowledged that Central Valley knew AMPS was going to review claims for excessive

charges under the MBR program in the 2015 Plan Year. See Dickinson Dep. 44:8-11,

ECF No. 266-6. Central Valley has presented no evidence that Benefit Group or AMPS

violated any guidelines for claims auditing under the 2015 Plan Document.

       Further, Central Valley has not identified any claim that AMPS handled improperly

and admits that Central Valley approved the weekly funding requests and issued

payments under for the 2015 Plan Year. The MBR Addendum stated that Central Valley

decided whether to pay the PPO amount or AMPS’s MBR recommendation: “All final

determinations and decisions as to eligibility, benefit availability, correctness or

appropriate-ness of charges billed by a provider, and all determinations whether any bill

is payable under a benefit plan, are the responsibility of Client [Central Valley].” ECF No.

264-9 at a 3. Central Valley’s CEO confirmed that this is how the MBR program worked

both in plan documents and in practice. See Dickinson Dep. 275:7-15, ECF No. 266-6.

In fact, Central Valley chose not to use the AMPS recommendations on numerous


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occasions and instead paid the PPO rate. See Hopwood Dep. 74:19-75:1; 75:15-19; 85:2-

88:5, ECF No. 266-3; ECF No. 266-10; ECF No. 266-11. There is no evidence that

AMPS/CDS or Benefit Group defrauded First Health or Central Valley, nor is there any

evidence that they acted contrary to 2015 Plan Year documents. Accordingly, they did

not become fiduciaries or violate a fiduciary duty on that basis.

              2. Representations About the 2016 RBR Plan

       For 2016, Central Valley argues that Benefit Group and AMPS are de facto

fiduciaries because they made representations about the RBR program that caused a

loss to the Plan. Central Valley claims that the misrepresentations fall in four categories:

(1) whether RBR was appropriate for Central Valley; (2) the amount and impact of balance

billing; (3) the negotiation of direct contracts; and (4) what the permitted payment level

would be.

                     a. Whether RBR was appropriate for Central Valley

       The first alleged misrepresentation is based on an email dated June 26, 2016, from

Jacquie Damgaard of CDS to Kirk Fallbacher, CFO of AMPS. See ECF No. 325-24 at 2,

PageID.20199. In the email, Damgaard stated that Rick Hirsch, CDS in-house counsel,

       thinks that RBR is not even appropriate for [Central Valley], but they came
       in with a bunch of companies who had MBR and were moved over to RBR,
       due to Benefit Group being sued for their actions with the network they were
       utilizing before. There was just no analysis about whether RBR was
       appropriate for any of the companies –just “We have to keep their business
       so RBR it is approach.”

Id.

       Even ignoring the lack of context and layers of hearsay in the email, the statements

do not support a claim for breach of fiduciary duty under ERISA. Opinions are not

actionable for fraud under common law. See Ed Miller & Sons v. Earl, 502 N.W.2d 444,


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453 (Neb. 1993) (“To constitute fraud, a misrepresentation must be an assertion of fact,

not merely an expression of opinion.”). Central Valley provides no support for its assertion

that the opinion of an AMPS employee constitutes a breach of fiduciary duty under ERISA.

Further, the email is dated several months after Central Valley decided to participate in

the RBR program. Central Valley admitted that no one at AMPS or CDS ever spoke to

anyone at Central Valley before the RBR program was implemented. Accordingly, there

is no evidence that this statement is an actionable misrepresentation.

                     b. Impact of Balance Billing

       Central Valley also argues that AMPS and Benefit Group misrepresented the

impact of balance billing under the RBR plan. Central Valley’s argument is based on an

email dated July 11, 2015, from John Powers to Emily Langdon, former general counsel

for Benefit Group, stating “[s]uprisingly enough, the appeals and balance billing issues

have been significantly lower with RBR than MBR, mostly due to no PPO to object.” ECF

No. 300-1 at 51.

       This statement does not support a claim for breach of fiduciary duty under ERISA.

First, the statement was made several months before Central Valley adopted the RBR

plan. “No fiduciary shall be liable with respect to a breach of fiduciary duty under this

subchapter if such breach was committed before he became a fiduciary or after he ceased

to be a fiduciary” 29 U.S.C. § 1109(b). Neither AMPS nor Benefit Group was a fiduciary

under the 2016 Plan at the time of the email.

       Second, there is no evidence that Central Valley was ever told there would be less

balance billing under RBR than MBR. Benefit Group did not believe Powers’s statement,

and Robin Wall of AMPS corrected Powers’s statement, confirming there would likely be



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more balance billing under RBR. Brown Dep. 119:11-121:22, ECF No. 266-7; Inman Dep.

31:12-33:2, ECF No. 266-18. Central Valley admitted it knew balance billing was a

possibility under the RBR program. Dickinson Dep. 177:12-19, ECF No. 266-6; Hopwood

Dep. 78:20-79:8; 149:1-3, ECF No. 266-3. Further, Powers’s statements about the

amount or impact of balance billing were opinions, not statements of fact. See Ed Miller,

502 N.W.2d at 453. Central Valley has not provided evidence that it relied on Powers’s

statements or that it would have been reasonable to do so. Accordingly, the statements

do not constitute an actionable breach under ERISA.

                     c. Statements about direct contracts

       Central Valley’s “ultimate goal” under the RBR program was to obtain direct

contracts with providers—agreements between the Plan and providers about

reimbursement rates. Central Valley argues that AMPS and Benefit Group breached their

fiduciary duty to the Plan by failing to adequately negotiate direct contracts. However,

Central Valley admitted that, when it signed the RBR Agreement, it knew there were no

direct contracts in place; that no one promised there would be direct contracts in place by

any particular time; and that the negotiation of direct contracts was not a requirement

under the RBR Agreement. Dickinson Dep. 141:22-25; 144:8-13, ECF No. 266-6; Central

Valley Response to Requests for Admissions No. 245, ECF No. 259-2 at 38. Because

Central Valley knew it did not have direct contracts with providers and knew that the RBR

Plan did not require direct contracts, AMPS’s failure to immediately obtain direct contracts

was not a breach of fiduciary duty.

                     d. Permitted payment levels




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      Finally, Central Valley claims AMPS and Benefit Group breached a fiduciary duty

to the Plan by manipulating the permitted payment level used to present the RBR savings

analysis to make the RBR program seem more attractive to Central Valley. Specifically,

Central Valley argues that it told AMPS that Central Valley wanted permitted payment

levels set at 185% of Medicare for “metropolitan” providers and 200% of Medicare for

rural providers. Central Valley argues that AMPS led Central Valley to believe that

providers would accept these payment levels, even though AMPS knew that area

providers were accustomed to receiving payment at Medicare plus 323%. Central Valley

further asserts that AMPS and Benefit Group changed the 2016 Plan Document to accept

160% of Medicare.

      Central Valley has not demonstrated that AMPS or Benefit Group made any

misrepresentations about payment levels in the 2016 RBR Plan. Central Valley offered

no evidence that AMPS or Benefit Group illegally changed the 2016 Plan Document to

accept payments of 160% of Medicare or that Central Valley was led to believe that the

document contained a different acceptable payment level. Central Valley was the only

party who signed the 2016 Plan Document. ECF No. 264-6 at 99. Further, the 2016 Plan

permitted payment levels above 160% of Medicare. The Plan document stated that the

Plan could pay claims up to 208% of Medicare, or “in any amount” subject to the

agreement of Central Valley and CDS. ECF No. 264-6 at 72-73. Any pre-2016 Plan Year

opinions or predictions about what providers might accept did not create a fiduciary duty

and are not actionable under ERISA.

      3. Stop-Loss Carrier




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       Central Valley claims that Benefit Group acquired and breached a fiduciary duty

by pushing Central Valley to use U.S. Fire as its stop-loss carrier without disclosing that

U.S. Fire would provide a kickback to Benefit Group. Central Valley’s claim is legally

insufficient because “it is well settled that merely selling insurance to a plan by itself does

not create a fiduciary relationship under ERISA.” In re Ins. Brokerage Antitrust Litig., No.

CIV. 04-5184, 2008 WL 141498, at *5 (D.N.J. Jan. 14, 2008) (citation omitted). As noted

above, a party who provides advice to an ERISA plan, but does not control whether the

plan will accept the advice, is not a fiduciary. See Am. Fed’n of Unions, 841 F.2d at 664

(holding that a party providing advice to an ERISA fund was not a fiduciary where he “had

no control over whether the Fund would accept or reject its advice to self-insure.”). There

is no evidence that Benefit Group exercised decision-making power on behalf of the

Central Valley Plan as to which stop-loss contract Central Valley would adopt.

       Central Valley also argues that Benefit Group and GMS were fiduciaries with

respect to stop-loss because “Central Valley as Plan Administrator for the Central Valley

Plan relied on Benefit Group (and GMS), as its trusted advisors, to provide honest,

accurate advice regarding the placing of its stop-loss policy.” Central Valley Br. at 32,

ECF No. 323. However, in its Response to Benefit Group’s Statement of Material Facts,

Central Valley states: “[Central Valley] only learned through discovery in this case and by

Benefit Group’s own admissions, that Benefit Group solicited bids from stop loss carriers.”

Central Valley Response to Undisputed Facts at 33 ¶¶ 148-49, ECF No. 323-1. This case

was filed on October 11, 2017. It would be impossible for Central Valley to have relied on

advice from Benefit Group as a “trusted advisor” regarding procuring stop-loss when it




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admits it did not even know Benefit Group was involved in procuring stop-loss until

discovery in this case.

       Further, GMS was Central Valley’s registered agent for stop-loss coverage.

Leonard Dep. 132:1-7, ECF No. 266-1. Central Valley engaged GMS to procure stop-loss

coverage for claims submitted in the 2016 Plan Year. As Central Valley’s insurance agent,

GMS shopped stop-loss options on behalf of Central Valley and presented them to

Central Valley for consideration. Dickinson Dep. 87:2-25; 90:10-13, No. 266-6 (Q:

“Central Valley ultimately had the ability to listen to Mr. Leonard’s recommendations or

go a different way [regarding stop loss], though?” A. “Oh absolutely, yes.”). Thus, the

evidence shows that advice regarding stop-loss coverage for the 2016 Plan Year came

from Central Valley’s broker, not Benefit Group. Accordingly, Central Valley has not

shown that Benefit Group owed or breached a fiduciary duty to the Plan based on Central

Valley’s selection of a stop-loss carrier.

       4. CDS’s Review During 2016 Plan Year

       Central Valley argues that CDS breached its fiduciary duty to the Plan during 2016

by causing providers to be reimbursed at rates that were lower than what was reasonable

and customary in the geographic region. During the 2016 Plan Year, CDS had a fiduciary

duty limited to its administration of hospital and facility claims. Central Valley argues that

CDS should have authorized high payments during 2016.

       Central Valley’s claim against CDS fails for several reasons. First, CDS did not

owe a fiduciary duty to the Plan to set the payment levels in the 2016 Plan Document.

“[A]dherence to [an] agreement with a plan administrator does not implicate any fiduciary

duty where the parties negotiated and agreed to the terms of that agreement in an arm's-



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length bargaining process.” McCaffree Fin. Corp. v. Principal Life Ins. Co., 811 F.3d 998,

1003 (8th Cir. 2016). Until the 2016 Plan Document was signed, Central Valley “remained

free to reject its terms and contract with an alternative service provider offering more

attractive pricing or superior investment products.” Id. Central Valley does not identify

any claims that CDS administered in a manner inconsistent with the 2016 Plan Document.

If Central Valley wanted to include higher Medicare reference points than those included

in the 2016 Plan Document, it could have done so. CDS’s fiduciary duty did not arise

until the Plan Document was signed. Further, under the Plan Document, Central Valley

could have requested that it and CDS exercise their joint discretion to pay more in Plan

funds on any claim. CDS cannot breach a fiduciary duty by directing that claims be paid

according to the reimbursement levels contained in the RBR Plan Document.

       Second, CDS did not have a duty under the Plan to avoid balance billing. Unless

specifically required, a plan administrator is under no duty to avoid balance billing. See

Clark v. Group Hospitalization and Medical Servs, Inc., No. 10–CV–333, 2010 WL

5093629 (S.D. Cal. Dec. 7, 2010). In Clark, a plan participant-plaintiff brought (1) an

ERISA claim against the plan administrator alleging that the administrator erred by failing

to calculate the proper benefit level based on the plan terms; and (2) a state-law claim

alleging that the plan was administered in such a way as to expose participants to balance

billing. Id. at *3, 5. The Clark plaintiff argued that its state-law balance-billing claim should

not be preempted by ERISA because it “raises a separate legal duty—a duty to keep plan

members out of the billing process by paying non-contracting emergency physicians a

‘customary and reasonable rate.’” Id. at 5. Plaintiff contended that the balance-billing

claim “does not trigger a duty under ERISA or the Plan’s specific terms,” and so “the



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balance billing issue is separate and independent from an improper denial of benefits

claim.” Id. at *5. The court agreed, reasoning that the state-law balance-billing claim

“does not concern denial of benefits under ERISA provisions or the Plan itself.” Id. at *6.

        The court’s reasoning in Clark is persuasive. Like the plan in Clark, the 2016 Plan

Document imposed no affirmative duty to avoid balance-billing. Neither CDS nor AMPS

had a duty under ERISA to prevent balance-billing, a practice that hospitals may or may

not choose to employ after a plan pays less than billed charges on a claim. Instead,

balance-billing was an inherent risk assumed by Central Valley when it opted for the lower

cost RBR program over a traditional PPO network plan. As noted above, Central Valley

was aware when it adopted the RBR program that balance-billing was a risk. Further,

statements in the 2016 RBR Plan Documents and educational materials notified Plan

participants of the possibility of balance-billing. See Esser Dep. 268:5-21; 243:24-4;

274:15-20, ECF No. 262-6; ECF No. 276-10. Accordingly, AMPS and CDS did not violate

any ERISA fiduciary duties solely because Plan participants were exposed to balance-

billing. Central Valley has not demonstrated that CDS breached a fiduciary duty to the

Plan.

        5. Conclusion

        For the reasons stated, with the exception of CDS for Plan Year 2016, none of the

Defendants was an ERISA fiduciary for purposes of this action. Central Valley retained

final, discretionary authority over all parts of Plan administration and none of the parties

acted outside of its duties described in the Plan documents. Further, although CDS was

a limited, named fiduciary under the 2016 Plan Document, there is no evidence that it




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acted contrary to Plan. Accordingly, Defendants are entitled to summary judgment on

Central Valley’s breach-of-fiduciary-duty claims.

II. Prohibited Transactions

       Central Valley alleges that the Defendants, directly or by implication, violated

fiduciary duties to the Plan by engaging in prohibited transactions. “The transactions

prohibited by § 1106 tend to be those in which ‘a fiduciary might be inclined to favor [a

party in interest] at the expense of the plan’s beneficiaries.’” Braden v. Wal-Mart Stores,

Inc., 588 F.3d 585, 602 (8th Cir. 2009) (quoting Harris Tr. & Sav. Bank v. Salomon Smith

Barney, Inc., 530 U.S. 238, 242 (2000)). Relevant to this case, ERISA prohibits two types

of transactions. First, 29 U.S.C. § 1106(a) plan fiduciaries “shall not cause the plan” to

enter into certain transactions with a party in interest. These transactions include lending

of money or credit between the plan and a party in interest; furnishing of goods or services

between the plan and a party in interest; and transferring plan assets to or for the benefit

of a party in interest. Second, 29 U.S.C. § 1106(b) prohibits certain transactions between

a plan and plan fiduciary.10




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            Section 1106(b) states:

       (b) Transactions between plan and fiduciary A fiduciary with respect to a plan shall not—

             (1) deal with the assets of the plan in his own interest or for his own account,

             (2) in his individual or in any other capacity act in any transaction involving the plan on
             behalf of a party (or represent a party) whose interests are adverse to the interests of
             the plan or the interests of its participants or beneficiaries, or

             (3) receive any consideration for his own personal account from any party dealing with
             such plan in connection with a transaction involving the assets of the plan.



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        Neither 29 U.S.C. § 1106(a) nor § 1106(b) expressly prohibits excessive and

unreasonable services to an ERISA plan. However, § 1106(a) prohibits a fiduciary from

engaging “in a transaction, if he knows or should know that such transaction constitutes

a direct or indirect . . . (C) furnishing of goods, services, or facilities between the plan and

a party in interest.” 29 U.S.C. § 1106(a). Section 1106 is designed to prevent “commercial

bargains that present a special risk of plan underfunding because they are struck with

plan insiders, presumably not at arm’s length.” Lockheed Corp. v. Spink, 517 U.S. 882,

893 (1996). Central Valley argues that transactions between AMPS and Benefit Group in

Plan Years 2015 and 2016 constituted self-dealing and the Defendants are liable for their

acquiescence to the transactions.11

        A. Fees Under the 2015 MBR Program

        Central Valley argues that Benefit Group and AMPS violated a de facto fiduciary

duty through undisclosed kickbacks to Benefit Group during the 2015 Plan Year.

According to Central Valley, Benefit Group and AMPS concocted a scheme as far back

as 2013, creating template contracts that showed AMPS would receive 30% of savings

to a plan, while AMPS and Benefit Group had a side agreement in which AMPS promised

to give 7.5% of the savings back to Benefit Group. Central Valley argues that this scheme

violated ERISA’s prohibition on self-dealing.




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           As noted above, except for CDS in 2016, none of the parties was a direct or de facto fiduciary.
Thus, the prohibited-transaction statutes would not apply. Further, there is no evidence that any party
caused the Plan to enter into any prohibited transactions with that party or any other party in interest. Central
Valley, the named fiduciary, entered into transactions on behalf of the Plan. Central Valley made all
decisions regarding what plan design to adopt and what fees and claims to pay. See, e.g., Dickinson Dep.
109:1-8; 275:7-10; 275:11-15; 80:20-25, ECF No. 266-6; Harris Dep. Ex. 210, ECF No. 262-15,
PageID.6146.



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       The evidence does not support Central Valley’s allegations. First, Central Valley

was aware that Benefit Group could receive rebates and commissions from cost-

containment companies. In the 2015 ASA, Central Valley authorized Benefit Group to

“receive administration commissions, fees and/or rebates from various contracted

vendors including but not limited to: . . . cost containment companies . . . .” ECF No. 264-

13 at 8. Central Valley also signed an ERISA Disclosure stating that “If the Employer

[Central Valley] has chosen to participate in certain programs offered through third party

vendors, including but not limited to cost containment, TPA [The Benefit Group] may

receive…a percentage of any savings generated for TPA services in implementing and

managing such programs.” ECF No. 264-16. Central Valley, through its Vice President,

admitted that AMPS’s MBR services were cost-containment services and that Benefit

Group could receive compensation from cost-containment companies. See Esser Dep.

62:10-15, 71:13-17, ECF No. 266-2. Accordingly, Central Valley had notice that Benefit

Group could receive compensation from AMPS.

       Second, Benefit Group and AMPS did not breach any fiduciary duty by failing to

disclose the specific percentage of savings that AMPS paid to Benefit Group. Central

Valley cites no authority for its argument that Benefit Group and AMPS were required to

disclose the specific percentage Benefit Group received from AMPS. Further, there is no

evidence that Benefit Group misrepresented the amount it received or that Central Valley

even asked about the specific percentage Benefit Group received.

       Finally, there is no evidence that the compensation AMPS paid to Benefit Group

affected Plan funds in any way. In the MBR Addendum, Central Valley agreed to pay

AMPS 30% of savings under the MBR program. ECF No. 264-9 at 4. Central Valley



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suggests that if AMPS was willing to pay Benefit Group 7.5% of the total savings, then

AMPS was willing to accept 22.5% of total savings for its services. Thus, according to

Central Valley, the “undisclosed” fee to Benefit Group resulted in a loss to the Plan.

       Central Valley’s theory fails to show a loss to the Plan. The evidence shows that

Benefit Group provided significant services to support MBR including screening claims

under the MBR criteria, processing claims, and assisting with balance-billing. Inman Dep.

16:15-17:17, ECF No. 266-18. AMPS compensated Benefit Group for these services

using AMPS’s funds, not Plan assets, under a separate Claims Services Agreement.

“Customer [The Benefit Group] shall receive 7.5% of the Savings in consideration of

Customer’s administrative functions supporting AMPS Services.” ECF No. 300-6 at 67. If

Benefit Group had not provided these services under the MBR Program, AMPS or some

other vendor would have had to perform the services. There is no evidence that AMPS

would have performed all the MBR services for 22.5% of savings as Central Valley

suggests. Accordingly, there is no evidence that these payments affected Plan funds.

       2. Fees in the 2016 RBR Program

       Central Valley has not shown that Benefit Group or AMPS engaged in a prohibited

transaction during the 2016 Plan Year. In 2016, AMPS and Benefit Group entered into

the RBR Agreement with the Central Valley Plan for AMPS to be paid a 10% fee on all

claims subject to RBR. Central Valley alleges that for the 2016 Plan Year, Benefit Group

billed the Plan 12.5% for AMPS’s services and then hid both the overcharge and a 2.5%

kickback to Benefit Group.

       Central Valley’s argument mischaracterizes the parties’ agreements for the 2016

Plan Year. In November 2015, Central Valley was told that the RBR fee would be 12.5%



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of gross billed charges, not 10% as Central Valley argues. The 12.5% fee was listed under

Option 3 in a proposal submitted to Central Valley by its broker, GMS. ECF No. 264-21.

Smithpeter even asked GMS to confirm that Option 3 contained a typo and that the fee

was 12.5% not 12%. See ECF No. 264-24 at 2; see also Smithpeter Dep. 145:4-148:22,

ECF No. 266-8. GMS confirmed that the RBR fee would be 12.5%. ECF No. 264-24 at 2.

       Central Valley knew that of the 12.5% RBR fee AMPS/CDS would receive 10%,

leaving 2.5% to Benefit Group. See RBR Program Servs. Agreement at 9, ECF No. 264-

30, PageID 7779.      When it was discovered that the RBR Agreement contained a

scrivener’s error because Benefit Group’s 2.5% fee was mistakenly omitted from the final

RBR Agreement, Benefit Group sent an amendment to Central Valley’s broker, GMS,

setting forth the 2.5% fee. Skutt Depo. 219:16-220:11; 229:4-13, ECF No. 324-1.

Moreover, in every iteration of the Complaints in this case, Central Valley has alleged that

“Under the terms of the RBR Agreement” AMPS/CDS was to be paid 10% and Benefit

Group was paid 2.5% of gross billed hospital claims. ECF No. 60 at 31, ¶ 96; ECF No. 1,

at 21, ¶ 88; ECF No. 34 at 25, ¶ 95; ECF No. 35 at 26, ¶ 95. There is no evidence of a

“scheme” to hide Benefit Group’s 2.5% fee under the RBR Plan. Accordingly, there is no

evidence that Benefit Group engaged in self-dealing.

                                      CONCLUSION

       The undisputed evidence fails to establish a material issue of fact as to whether

any of the Defendants were ERISA fiduciaries or breached fiduciary duties to the Plan.

Further, the evidence does not demonstrate that any parties engaged in transactions

prohibited by ERISA. Accordingly,

       IT IS ORDERED:



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    1.    Defendants’ Motions for Summary Judgment, ECF Nos. 257, 263, and

          270, are granted;

    2.    Plaintiff’s Motion for Partial Summary Judgment, ECF No. 273, is denied;

    3.    The Motions to Exclude and Motions in Limine, ECF Nos. 223, 243, 347,

          350, 352, 355, and 371, are denied as moot;

    4.    This action is dismissed, with prejudice; and

    5.    A separate judgment will be entered.



    Dated this 30th day of August 2019.


                                               BY THE COURT:

                                               s/Laurie Smith Camp
                                               Senior United States District Judge




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